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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE COMMISSION,

                                      Plaintiff,           Civil Action No. 1:25-cv-005897
v.

CHRISTINE M. HUNSICKER,
                                                           Jury Trial Demanded
                                      Defendant.


                                         COMPLAINT

       Plaintiff Securities and Exchange Commission (“SEC”), for its Complaint against Defendant

Christine M. Hunsicker, alleges as follows:

                                           SUMMARY

       1.      From at least February 2019 through at least March 2025 (the “Relevant Period”),

Christine M. Hunsicker (“Hunsicker”) – the co-founder, Chief Executive Officer, and Chair of

privately-held CaaStle, Inc. (“CaaStle”) – created and disseminated to investors false financial

statements while raising more than $250 million for CaaStle through the offer and sale of preferred

stock and common warrants.

       2.      Hunsicker’s fake financials supported her narrative that CaaStle, a startup that

offered a new monetization model called “Clothing-as-a-Service” to the apparel industry, enjoyed

rapid and steady revenue growth after a rebrand of the business in 2018, achieved profitability by

December 2022, experienced exponential increases in profitability thereafter, and was nearing an

initial public offering or sale. In reality, CaaStle’s revenues were shrinking, its losses were

increasing, and the company was never profitable.
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       3.      Throughout the Relevant Period, not a single existing or prospective CaaStle

investor received accurate monthly, quarterly, or annual CaaStle financial statements from

Hunsicker.

       4.      To effect her scheme, Hunsicker took financial reports that she received every

month from her financial team and created an alternate set of financials with false monthly,

quarterly, and annual results that supported her narrative of the company’s success. She provided

these falsified financial statements to investors upon request.

       5.      By 2022, as CaaStle appeared to be close to reaching profitability, investors

increasingly began to ask for audited financial statements. To maintain her ruse, Hunsicker took

CaaStle’s final signed audit report for fiscal year ended September 30, 2021, downloaded it to her

computer, altered the numbers, removed the going concern statement in the audit opinion letter,

and provided the falsified audit to investors. After CaaStle’s long-time auditor terminated its

relationship with CaaStle in 2023, Hunsicker created her own audit reports. She falsified the

numbers, audit opinion letters, and notes for the reports covering fiscal years ended September 30,

2022 and 2023, and she forged the former auditor’s signature.

       6.      Beginning in 2022, Hunsicker also hid from investors the extent to which CaaStle

continued to rely on primary capital raises to fund its operations, and she provided capitalization

tables that undercounted the number of issued and outstanding shares and that misled investors

about CaaStle’s true capital structure. Many investors believed that, using CaaStle as a middleman,

they were indirectly purchasing discounted shares in secondary transactions from founders,

employees, and others who needed liquidity for various personal reasons. Typically, however,

these investors were purchasing original issue shares directly from CaaStle. Each CaaStle investor

owned a smaller percentage of the company than they realized.



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       7.      Occasionally, Hunsicker herself was the undisclosed seller in secondary

transactions, and received for her preferred shares the price at which CaaStle was selling shares in

its then-current funding round, not the negotiated discounted price. In other words, Hunsicker

orchestrated transactions in which she benefitted herself at the Company’s and investors’ expense.

       8.      Hunsicker’s scheme began to unravel in late 2024, when multiple investors

reviewed CaaStle’s falsified 2023 Audit Report in Hunsicker’s office and noticed a missing page

and several errors inconsistent with the presented document being a final audit report. An investor

contacted the audit firm whose name Hunsicker had forged on the report. The firm told the investor

that they had not been CaaStle’s auditor for years.

       9.      Hunsicker was forced to resign from CaaStle’s Board of Directors on December

14, 2024. But she was temporarily allowed to remain as CaaStle’s CEO, with restrictions,

including an outright prohibition on her ability to fundraise for CaaStle and sign contracts.

Investors were not informed of Hunsicker’s actions or departure from the Board while the Board

conducted an internal investigation.

       10.     Hunsicker’s wrongdoing continued. Between December 14, 2024 and March 24,

2025, Hunsicker circumvented the Board’s restrictions, provided old and new falsified financial

statements to CaaStle investors, including for fiscal-year ended September 30, 2024, and engaged

in self-dealing transactions in which, among other things, she sold approximately $10 million of

her personal shares of CaaStle to existing investors that were unaware of her fraud.

       11.     Hunsicker formally resigned from her position as CEO on March 24, 2025. The

Company began notifying investors on March 25, 2025.




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                                          VIOLATIONS

       12.     By virtue of the conduct alleged in this Complaint, Hunsicker violated Section

10(b) of the Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78j(b)], Rule 10b-5

thereunder [17 C.F.R. § 240.10b-5], and Section 17(a) of the Securities Act of 1933 (“Securities

Act”) [15 U.S.C. § 77q(a)].

       13.     Unless Hunsicker is restrained and enjoined, she will continue to engage in the

transactions, acts, practices, and courses of business set forth in this Complaint or in transactions,

acts, practices, and courses of business of similar type and object.

       14.     The SEC seeks injunctive relief, disgorgement, prejudgment interest, civil money

penalties, an officer and director bar, and other appropriate and necessary equitable relief as to

Hunsicker.

                                 JURISDICTION AND VENUE

       15.     This Court has jurisdiction over this action, and venue lies in this District, pursuant

to Exchange Act §§ 21(d) and 27 [15 U.S.C. §§ 78u(d) and 78aa], Securities Act § 22(a) [15 U.S.C.

§ 77v(a)], and 28 U.S.C. § 1331.

       16.     Hunsicker, directly or indirectly, made use of the means or instrumentalities of

interstate commerce or of the mails in connection with the transactions, acts, practices, and courses

of business alleged in this Complaint. These transactions, acts, practices, and courses of business

largely occurred within this District, where Hunsicker’s business (CaaStle, Inc.) was located, and

where Hunsicker resided and worked during the Relevant Period. Hunsicker offered and sold

securities to investors located worldwide, including investors located within this District.




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                                          DEFENDANT

       17.     Christine M. Hunsicker, age 48, resides in Lafayette, New Jersey and New York,

New York. She is the co-founder of Gwynnie Bee, Inc., which was later renamed CaaStle, Inc.

Hunsicker was Chair of CaaStle’s Board of Directors until December 14, 2024, and its CEO until

March 24, 2025. Hunsicker was the public face of CaaStle. Her principal responsibilities were

business strategy and raising funds.

                                     RELEVANT NON-PARTY

       18.     CaaStle, Inc. is a privately-held Delaware corporation headquartered in New York,

New York. During the Relevant Period, CaaStle had distribution centers in Ohio and Arizona, and

a wholly-owned subsidiary that employed hundreds of employees in New Delhi, India.

       19.     Hunsicker co-founded CaaStle under the name Gwynnie Bee, Inc. in 2011. The

company commenced operations in 2012 and initially offered a direct-to-consumer rental

subscription service focused on apparel for plus-sized women.

       20.     Commencing in 2017, Hunsicker scaled the business and began offering Gwynnie

Bee’s underlying technology and logistics services to third-party apparel brands and retailers,

enabling those brands and retailers to offer a rental subscription service to their own customers.

       21.     In November 2018, Hunsicker changed the company’s name to CaaStle, Inc. as part

of a corporate rebranding of CaaStle as a “Clothing-as-a-Service” or “CaaS” company. Since then,

CaaStle has operated as a business-to-business technology and logistics company that, through its

platform, enables apparel brands and retailers to offer customers subscription-based rentals of

apparel, with the option to buy. Brands and retailers pay CaaStle a fee to use CaaStle’s proprietary

technology (including algorithms and analytics), reverse logistics (shipping, garment care), and

infrastructure (customer service).



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       22.     Throughout the Relevant Period, CaaStle’s Head of Finance, who was based in

New Delhi, India, oversaw the company’s book-keeping, accounting, financial planning, and

treasury functions. CaaStle’s Financial Controller was based in New York and reported to the Head

of Finance.

       23.     Throughout the Relevant Period, CaaStle’s financial statements were audited by an

independent outside audit firm. AUDITOR 1 audited CaaStle’s financial statements for fiscal years

ending September 30, 2013 through September 30, 2021. AUDITOR 2 audited CaaStle’s financial

statements for fiscal years ending September 30, 2022 through September 30, 2023.

       24.     For all audited years, the auditors issued “clean” audit opinions, i.e., audit opinions

finding that the consolidated financial statements prepared from CaaStle’s internal books and

records systems presented fairly, in all material respects, the company’s financial position at fiscal-

year end, in accordance with U.S. Generally Accepted Accounting Principles (“US GAAP”). For

all audited years, the audit report was accompanied by a statement expressing substantial doubt as

to CaaStle’s ability to continue as a going concern in light of its recurring losses from operations,

and reliance on future additional debt or equity financing to fund operations.

       25.     Substantial doubt to continue as a Going Concern is an accounting concept that

“relevant conditions and events, considered in the aggregate, indicate that it is probable that an

entity will be unable to meet its obligations as they become due within one year after the date that

the financial statements are issued.” (ASC 205-40-50-4).

       26.     Throughout the Relevant Period, CaaStle had a three-member Board of Directors.

Hunsicker was the sole inside director. The other two were independent directors – one based on

the West Coast, and the other in Japan. The Board generally met by videoconference twice a year.

The Head of Finance and Financial Controller did not attend Board meetings or otherwise interact



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with or provide financial statements or financial information to CaaStle’s Board of Directors. The

Board received financial information about the Company exclusively from Hunsicker during the

Relevant Period, until December 2024, but the information they received did not comport with the

information reflected in CaaStle’s internal records.

          27.     On June 20, 2025, CaaStle filed a petition for Chapter 7 Bankruptcy. See Case No.

25-11187 (D. Del. Bankr. June 20, 2025).

                                               FACTS

I.        Hunsicker Knowingly Created and Distributed to Investors
          Materially False Unaudited and Audited Financial Statements

          A.      Hunsicker’s Knowledge of CaaStle’s True Financial Performance

          28.     Hunsicker routinely received financial information from CaaStle’s finance team

and, through her involvement in the company’s budgeting process, and her receipt of interim and

annual internal financial reports, and draft and final audit reports, knew or was reckless or

negligent in not knowing of CaaStle’s true financial performance and reliance on primary capital

raises.

          29.     Hunsicker reviewed and approved CaaStle’s annual budget each year. The annual

budgets for fiscal years 2019 through 2024 all anticipated large income shortfalls due to low

revenues and high costs. The company relied on Hunsicker to fill the gap between revenue and

costs by raising capital.

          30.     On a monthly basis, Hunsicker received from CaaStle’s Financial Controller or

someone acting under her direction, the company’s month-end balance sheet and income

statement, which included year-to-date data for all prior months in the fiscal year.




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          31.     Hunsicker also received a monthly management packet. The packet typically

included monthly financial statements and was stored on a shared drive to which Hunsicker had

access.

          32.     At the conclusion of every audit, Hunsicker received from CaaStle’s Financial

Controller or Head of Finance a copy of CaaStle’s final signed audit report. She also periodically

requested and received drafts of CaaStle’s audit reports.

          B.      Hunsicker Doctored and Provided to Investors
                  Materially False Financials for Fiscal Years Ended 2018 through 2023

          33.     By no later than February 2019, three months after Hunsicker rebranded the

company and changed its name to CaaStle, Hunsicker began to create and disseminate to current

and prospective CaaStle investors materially false financial statements in connection with her

capital-raising efforts for CaaStle.

          34.     Hunsicker provided materially false financial statements to investors for

approximately 6 years, during which time CaaStle raised more than $250 million in capital from

investors who were unaware that the financial information they received was entirely a fiction.

          35.     Throughout that time, investors routinely asked for financial statements as part of

their original and continuing due diligence on the company. Some required financial statements

because their own financial statements were audited and their auditors needed to value their

holdings in CaaStle. Accurate financial statements were important to investors.

          36.     As alleged in further detail below, in early 2019, Hunsicker’s falsified financial

statements for fiscal year ended September 30, 2018, reported gross annual revenues of $71.5

million, a 187% inflation of CaaStle’s actual gross revenues, which were $24.9 million. The

discrepancy between Hunsicker’s misstated financial results and the company’s actual results

continued to grow in magnitude year-over-year, as reflected in the below chart:


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                                     Revenue Overstatement
        Fiscal Year                                                                        2024
                            2018     2019      2020      2021      2022        2023
   (through FYE 9/30)                                                                   (unaudited)
     False Revenues
  Created by Hunsicker      $71.5    $89.8     $93.3    $120.5    $238.5       $439.9      $838
       (in millions)
      Actual CaaStle
         Revenues           $24.9     $26      $24.9    $18.6     $19.7        $15.7       $11.3
       (in millions)
     Overstatement
                            187%     245%     275%      548%      1,110% 2,702%          7,315%
       Percentage

                           Loss Understatement/Profit Overstatement
        Fiscal Year                                                                        2024
                            2018     2019      2020      2021      2022        2023
   (through FYE 9/30)                                                                   (unaudited)
  False Profits/(Losses)
  Created by Hunsicker      (24.1)   ($27.7) ($29.9) ($33.7)      ($17.1)      $66.3       $192.2
       (in millions)
      Actual CaaStle
     Profits/(Losses)      ($53.6) ($57.5)     ($45)    ($32.3)   ($55.8)      ($81)       ($59)
       (in millions)

       37.     At all times, Hunsicker was the sole CaaStle employee to communicate with and

provide financial information to investors. Her finance team, including CaaStle’s Head of Finance

and Financial Controller, did not provide financial statements to investors.

              i.      Hunsicker Falsified CaaStle’s Fiscal 2018 Financials

       38.     By no later than January 22, 2019, as part of their monthly review of CaaStle’s

financial results, Hunsicker’s finance team provided Hunsicker with the company’s then-current

unaudited income statement for the full fiscal year ended September 30, 2018 (“Fiscal Year

2018”), generated from CaaStle’s internal records. These internal records reflected fiscal 2018

revenues of $23.4 million, operating losses of $46.6 million, and net losses of $55.6. Hunsicker

also had access to this information on the company’s shared drive.




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       39.     Despite having access to company internal records, on February 24, 2019,

Hunsicker emailed a prospective investor, who had been asking for financials for months, a

document that she herself created. The document purported to be CaaStle’s fiscal 2018 income

statement but instead was a fake. It reflected revenues of approximately $71.5 million and

operating losses of approximately $24.1 million for the fiscal year.

       40.     Hunsicker subsequently provided the same fake fiscal 2018 income statement to at

least nine other investors. Some of them invested for the first time or added to their investments

after receiving these false financials.

       41.     For example, between May 13 and June 16, 2019, Hunsicker provided an investor

with multiple copies of the fake 2018 income statement, along with other falsified interim period

financials and projections. On June 27, 2019, the investor signed a stock purchase agreement, and

on June 28, 2019, the investor wired $2 million to purchase CaaStle Series A-11 preferred shares.

       42.     Hunsicker knew or was reckless or negligent in not knowing the fiscal 2018

numbers she provided to investors were materially false and did not reflect the information in

CaaStle’s internal system of records.

       43.     Hunsicker later received a copy of CaaStle’s final audit report for Fiscal Year 2018,

which AUDITOR 1 completed and CaaStle’s finance team sent to her on February 7, 2020. The

audited income statement reported revenue of approximately $24.9 million and operating losses

of approximately $53.6 million for Fiscal Year 2018, which largely comported with the unaudited

internal financial records that Hunsicker had received from her finance team. The audited financial

statements were accompanied by a clean audit opinion with AUDITOR 1’s conclusion that

CaaStle’s Fiscal Year 2018 financial statements presented fairly, in all material respects, CaaStle’s

financial position in accordance with US GAAP.



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       44.     CaaStle’s Fiscal Year 2018 audit report confirmed to Hunsicker the falsity of the

fiscal 2018 financial statements that she sent to investors. She did not send the Fiscal Year 2018

audit report to any investors, provide investors with corrected fiscal 2018 financial information, or

tell investors that the fiscal 2018 financial information they received from her was inaccurate.

             ii.         Hunsicker Falsified CaaStle’s Fiscal 2019 Financials

       45.     By no later than November 11, 2019, Hunsicker’s finance team emailed her the

company’s then-current unaudited income statement for the full fiscal year ended September 30,

2019 (“Fiscal Year 2019”), generated from CaaStle’s internal records. These internal records

reflected fiscal 2019 revenues of approximately $27.7 million, operating losses of approximately

$54.4, and net losses of approximately $57 million. Hunsicker also had access to this information

on the company’s shared drive.

       46.     Despite her access to the company’s internal records, on April 19, 2020, after an

existing investor asked for an update of the business, Hunsicker created and emailed the investor

what purported to be CaaStle’s fiscal 2019 income statement. The income statement was a fake

that Hunsicker herself created. The income statement reflected revenue of approximately $89.8

million and operating losses of approximately $27.7 million for the fiscal year.

       47.     Hunsicker subsequently provided her fake fiscal 2019 income statement to least six

other CaaStle investors, knowing that they were materially wrong. Some of them invested for the

first time or added to their investments after receiving these financials.

       48.     Hunsicker knew or was reckless or negligent in not knowing that that the fiscal

2019 income statement did not reflect the information in CaaStle’s internal system of records.

       49.         Furthermore, on August 4, 2020, Hunsicker received a copy of CaaStle’s final

audit report for Fiscal Year 2019, which AUDITOR 1 completed and signed on the same date. The




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audited financial statements reported revenue of approximately $26 million and operating losses

of approximately $58.2 million for Fiscal Year 2019, which largely comported with the unaudited

internal financial records that Hunsicker received from her finance team.

       50.      CaaStle’s Fiscal Year 2019 audit report confirmed to Hunsicker the falsity of the

fiscal 2019 financial statements that she sent to investors. She did not send the Fiscal Year 2019

audit report to any investor, or provide any investor with corrected fiscal 2018 financial

information, or tell any investor that the information she had previously sent was materially

inaccurate. She instead continued to send her doctored fiscal 2019 income statement to investors

       51.      Yet, on September 7, 2020, Hunsicker provided an investor with a copy of the fake

2019 income statement. The investor signed a stock purchase agreement and warrant purchase

agreement on November 6, 2020. The next day, the investor wired $1.5 million to CaaStle to

purchase CaaStle Series A-11 preferred shares and common warrants.

             iii.      Hunsicker Falsified CaaStle’s Fiscal 2020 Financials

       52.      By no later than November 24, 2020, Hunsicker’s finance team provided her with

CaaStle’s then-current unaudited income statement for the full fiscal year ended September 30,

2020 (“Fiscal Year 2020”), generated from CaaStle’s internal records. These internal records

reflected fiscal 2020 revenue of approximately $24.7 million, operating losses of approximately

$42.6 million, and net losses of approximately $44.9 million. Hunsicker also had access to this

information on the company’s shared drive.

       53.      By March 6, 2021, Hunsicker created and emailed to an existing investor a

document that purported to be CaaStle’s fiscal 2020 income statement. The income statement was

a fake that Hunsicker herself created. It reflected revenue of approximately $93.3 million and

operating losses of approximately $29.9 million for the fiscal year.




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       54.     Hunsicker subsequently provided the same fake fiscal 2020 income statement to at

least ten other CaaStle investors. Some of them invested for the first time or added to their

investments after receiving these financials.

       55.     For example, on April 19, 2021, Hunsicker emailed an existing investor a copy of

the fake 2020 income statement and a slide deck on the company, in response to his standing

request that Hunsicker keep him better informed and provide more regular financial updates. On

August 9, 2021, Hunsicker emailed the investor to inform him that the company was looking to

raise $15 million to $20 million in additional capital, and wrote, “I would love for you to do some

more.” The investor signed a stock purchase agreement and wired $2 million to CaaStle on August

20, 2021, for the purchase of CaaStle Series A-12 preferred shares.

       56.     Hunsicker knew or was reckless or negligent in not knowing that the fiscal 2020

numbers she sent to investors were materially false and did not reflect the information in CaaStle’s

internal system of records.

       57.     On May 24, 2021, Hunsicker received a copy of CaaStle’s final audit report for

Fiscal Year 2020, which AUDITOR 1 completed and signed on the same date. The audited

financial statements reported revenue of approximately $25 million and operating losses of

approximately $45.3 million for fiscal year 2020, which largely comported with the internal reports

received by Hunsicker received from her finance team. The audited financial statements were

accompanied by a clean audit opinion with AUDITOR 1’s conclusion that CaaStle’s Fiscal Year

2020 financial statements presented fairly, in all material respects, CaaStle’s financial position in

accordance with US GAAP.

       58.     CaaStle’s Fiscal Year 2020 audit report confirmed to Hunsicker the falsity of the

fiscal 2020 financial statements that she sent to investors. She did not send the Fiscal Year 2020



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audit report to any investor, or provide any investor with corrected fiscal 2020 financial

information, or tell any investor that the information she had previously sent was materially

inaccurate. Indeed, she continued to send her doctored fiscal 2020 income statement to investors.

             iv.       Hunsicker Falsified CaaStle’s Fiscal 2021 Financials and Audit Report

       59.     In late 2021, shortly after the close of fiscal year ended September 30, 2021 (“Fiscal

Year 2021”), one of CaaStle’s earliest investors told Hunsicker that they would not commit

additional investment funds to CaaStle, unless the company started to provide audited financials

and to provide financial updates more regularly. Other investors inquired about when CaaStle

would have audited financials as well. Hunsicker began to tell investors that CaaStle would have

audited financials in 2022.

       60.     On February 22, 2022, AUDITOR 1 completed its audit for CaaStle’s Fiscal Year

2021 and Hunsicker received a copy of the final audit report that day. AUDITOR 1 completed

CaaStle’s audit on a more accelerated timeline that year than in prior years. The audited financial

statements reported Fiscal Year 2021 revenues of approximately $18.6 million and operating

losses of approximately $32.3 million, which also largely comported with the unaudited internal

financial records that Hunsicker earlier received from her finance team. The audited financial

statements were accompanied by a clean audit opinion with AUDITOR 1’s conclusion that

CaaStle’s Fiscal Year 2021 financial statements presented fairly, in all material respects, CaaStle’s

financial position in accordance with US GAAP.

       61.     The Fiscal Year 2021 audit report did not comport with the narrative that Hunsicker

had been telling investors. Therefore, consistent with her handling of prior fiscal year audit reports,

Hunsicker did not send the Fiscal Year 2021 audit report to any investor.




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       62.     When investors inquired about the status of the Fiscal Year 2021 audit in 2022,

Hunsicker provided different excuses for the delay, to buy herself time. On June 22, 2022, four

months after AUDITOR 1 issued its final audit report, Hunsicker told one investor that CaaStle

was still in the process of engaging an auditor. As 2022 progressed, Hunsicker told investors that,

as a private company, CaaStle was not high on the auditor’s priority list, and the audit was slow-

going and not complete. Investors began to express concern about the audit delays.

       63.     Hunsicker ultimately decided, after having told investors that they can expect to see

audited financials in 2022, to falsify CaaStle’s Fiscal Year 2021 audit report to provide a falsified

audit to investors.

       64.     On or around November 30, 2022, Hunsicker asked her finance team to locate a

non-final draft of the Fiscal Year 2021 audit report. The finance team did not ask why she wanted

a draft and, on November 30, 2022, emailed Hunsicker a draft in Word, with a note that it was the

latest draft they could locate. Hunsicker took the draft, altered the numbers to support her narrative,

changed the audit opinion letter to remove the going concern opinion, and then added the words

12/2/2022 DRAFT to the front page before sending a PDF copy to the investor.

       65.     On December 2, 2022, Hunsicker emailed an investor what purported to be a draft

of the Fiscal Year 2021 audit report. She lied to the investor and told him that CaaStle’s accounting

team and the auditor were still “turning versions” of the audit report but that the draft was “further

along than [she] expected.” The draft contained an income statement that reflected revenue of

approximately $120.5 million for the fiscal year – a material improvement over the prior fiscal

year – and operating losses of $33.7 million. The draft contained a balance sheet that reflected a

cash balance of approximately $30.2 million as of September 30, 2021. These numbers were

materially false and not reflective of CaaStle’s internal records.



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        66.     Between December 2022 and March 2023, Hunsicker provided the falsified draft

Fiscal Year 2021 audit report to at least eight CaaStle investors, though she knew or was reckless

or negligent in not knowing that the draft was a complete fake and that the financial information

reflected in it was materially false.

        67.     From March 2023 through at least August 2023, Hunsicker emailed at least 15

investors what purported to be a final Fiscal Year 2021 audit report. The “final” too was a fake

that reflected financial performance data similar to what had been reflected in the “draft” –

materially overstated revenues of approximately $120.5 million, operating losses of approximately

$33.7 million, and a materially inflated cash balance of approximately $30.3 million as of

September 30, 2021. Hunsicker changed the numbers, removed the auditor’s going concern

opinion, and inserted AUDITOR 1’s signature onto the doctored audit opinion letter. She dated

the opinion letter as of March 26, 2023, making it appear that AUDITOR 1 had just completed the

audit and finalized the report.

        68.     Hunsicker knew or was reckless or negligent in not knowing that the Fiscal Year

2021 audit report had been finalized and signed by AUDITOR 1 ten months earlier and that “draft”

and “final” versions she created and sent to investors were complete fakes and materially misstated

CaaStle’s true financial performance.

              v.        Hunsicker Falsified CaaStle’s Fiscal 2022 Financials and Audit Report

        69.     In March 2023, Hunsicker announced to investors that CaaStle had generated a

profit and become cash flow positive for the first time in the quarter ending December 31, 2022.

She supported her statement by providing investors with a false interim financial statement that

was not reflective of CaaStle’s internal financial records. CaaStle, in fact, had not become

profitable or cash flow positive by December 2022.




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       70.       Hunsicker’s announcement increased the appetite of CaaStle investors for audited

financial statements, which Hunsicker appeased by creating a fake draft audit report with fake

financial statements and fake notes for fiscal year ended September 30, 2022 (“Fiscal Year 2022”),

and then creating a fake final Fiscal Year 2022 audit report, to which she added AUDITOR 1’s

signature.

       71.       On April 4, 2023, Hunsicker emailed two existing and prospective investors what

purported to be an April 3, 2023 draft of the Fiscal Year 2022 audit report. She told the investors

that CaaStle’s auditor was working through “presentation issues,” completing its audit of the

capitalization table, and finalizing the notes, suggesting that the financial statements in the draft

report were near-final or final. In reality, the draft was a fake created by Hunsicker herself. The

income statement reflected revenue of approximately $238.5 million for the fiscal year, nearly

double the amount that had been reflected in the fake Fiscal Year 2021 audit report. The balance

sheet reflected a cash balance of approximately $42.5 million as of September 30, 2022. These

numbers did not comport with CaaStle’s internal records. The accompanying audit opinion letter

and notes were devoid of any reference to CaaStle as a going concern.

       72.       One day after receiving Hunsicker’s falsified “draft” of the Fiscal Year 2022 audit

report, a prospective investor that had tracked CaaStle’s fake financial performance for years,

sought authorization from its investment committee to commit $7.5 million to purchase shares of

CaaStle’s Series A-12 preferred stock and common warrants. The false data that Hunsicker sent to

the investor – including fake fiscal 2021 and 2022 financial data – was important to the investor’s

decision-making process. The investor signed a stock purchase agreement, a warrant purchase

agreement, and other transactional documents, and wired $7.5 million to CaaStle’s bank account

on April 11, 2023.



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       73.     From September 2023 through at least March 2024, Hunsicker provided at least 10

investors with a document that purported to be a final Fiscal Year 2022 audit report. The document

reflected false financial performance data similar to what had been reflected in the “draft” –

materially overstated revenues of approximately $238.5 million that were nearly double that of the

prior year, operating losses of approximately $17.1 million that were nearly half of the prior fiscal

year, and a materially inflated cash balance of approximately $42.5 million as of September 30,

2022. Hunsicker cut and pasted into the document AUDITOR 1’s signature from a prior year’s

audit report. Like the fake draft, Hunsicker’s fake final Fiscal Year 2022 audit report did not

express warnings about CaaStle’s ability to continue as a going concern or its need to continue to

raise capital to continue as a going concern.

       74.     Hunsicker knew or was reckless or negligent in not knowing that the financial

information reflected in the draft and final Fiscal Year 2022 audit reports that she provided to

investors was materially false and did not comport with CaaStle’s internal records. While creating

the false reports, she was in possession of the internal financial statements and records that her

finance team sent earlier. The internal records reflected fiscal 2022 revenues of approximately $20

million, operating losses of approximately $34.1 million, and net losses of approximately $40

million, and a September 30, 2022 cash balance of approximately $621,000.

       75.     Hunsicker also knew when she sent the fake draft and final Fiscal Year 2022 audit

reports that: (a) CaaStle was experiencing a severe cash crunch and had instructed AUDITOR 1 to

stop working on CaaStle’s Fiscal Year 2022 audit in September 2023 and (b) AUDITOR 1 had

terminated its relationship with CaaStle in early October 2023 in a written letter addressed to

Hunsicker.




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       76.       CaaStle’s new auditor, AUDITOR 2, completed the Fiscal Year 2022 audit on

December 2, 2024. The audited financial statements reported fiscal year 2022 revenues of

approximately $19.7 million and operating losses of approximately $58.5 million, and a cash

balance of less than $750,000 as of September 30, 2022. These numbers were materially consistent

with the internal reports that Hunsicker had received before sending her falsified fiscal 2022

financials to investors.

       77.       The audit report was accompanied by a clean audit opinion with AUDITOR 2’s

conclusion that CaaStle’s financial statements for Fiscal Year 2022 presented fairly, in all material

respects, CaaStle’s financial position in accordance with US GAAP. The audit report noted that

that “[CaaStle] has suffered recurring losses from operations and requires additional debt or equity

financing in the future to continue to fund its operations, which cannot be guaranteed. These factors

raise substantial doubt about its ability to continue as a going concern.”

       78.       Hunsicker received a copy of the final audit report on December 2, 2024. She did

not send the report to any investors or provide investors with corrected fiscal year 2022 financial

information.

               vi.      Hunsicker Lied to Cover Her Tracks
                        Relating to CaaStle’s Fiscal 2022 Financials and Audit Report

       79.       Hunsicker’s scheme nearly unraveled in October 2023 before she sent misleading

financial statements to any investor for the fiscal year ended September 30, 2023. Her lies kept the

scheme alive for over one more year.

       80.       In September 2023, an investor who received the fake Fiscal Year 2022 audit report

from Hunsicker noticed errors in the report that suggested it might not be final. The investor

emailed the fake report to AUDITOR 1 and asked if AUDITOR 1 had “conducted and completed”

the audit for Fiscal Year 2022. AUDITOR 1 told the investor that the report was “not signed by


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[AUDITOR 1]” and was “not a legitimate [AUDITOR 1] opinion.” AUDITOR 1 contacted

CaaStle’s Head of Finance and Financial Controller and Hunsicker. Hunsicker explained that this

was a one-off error. She claimed that she had mistakenly sent the investor a marked up version of

the audit report that she intended to use in a lecture she was giving at Princeton University on

ethics and entrepreneurship.

       81.     AUDITOR 1 terminated its relationship with CaaStle on October 3, 2023. Although

skeptical of Hunsicker’s story, AUDITOR 1 did not report her to the Board of Directors. CaaStle’s

Head of Finance and Financial Controller believed Hunsicker’s excuse and also did not report her

to the Board of Directors. CaaStle redeemed the investor’s shares at cost, and the investor did not

report Hunsicker to the Board of Directors.

       82.     Although Hunsicker took out personal loans and provided the proceeds to CaaStle

to enable it to redeem the investor’s shares, the loans came from CaaStle investors who were

misled about how she intended to use the loan proceeds. She ultimately repaid a majority of the

loans by selling some of her personal shares of CaaStle preferred stock to an investor who had

received false financials from her and was unaware of her fraud. The investor forgave his own $4

million loan to Hunsicker and then paid an additional $3.5 million purportedly to purchase $7.5

million some of her personal shares at a discounted price. She attempted to repay the rest of her

personal loans by wiring funds from CaaStle’s bank account to the investor-lender, who has since

returned the funds to CaaStle, and insisted that Hunsicker pay the loan from her personal funds.

       83.     With the Board of Directors unaware of Hunsicker’s actions, or the real reason why

AUDITOR 1 had terminated its relationship with CaaStle, Hunsicker continued her scheme.

       84.     Exactly two business days after AUDITOR 1 terminated its relationship with

CaaStle, Hunsicker sent to a long-term CaaStle investor the fake Fiscal Year 2022 final audit report



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that AUDITOR 1 had denounced. The investor purchased additional shares of CaaStle’s A-12

preferred stock and common warrants days later for its own account and an account held for the

benefit of a client for over $2.5 million.

       85.      In March 2024, Hunsicker sent the fake Fiscal Year 2022 audit report to another

existing CaaStle investor. In April 2024, the investor purchased more than $15 million additional

preferred shares and common warrants for itself and a group of co-investors.

             vii.      Hunsicker Falsified CaaStle’s Fiscal 2023 Financials and Audit Report

       86.      On September 24, 2024, as part of her continuing efforts to raise capital for CaaStle,

Hunsicker gave an investor access to a data room that contained a purported final audit report for

fiscal years ended September 30, 2022 and 2023. The document was a fake created by Hunsicker.

The financial statements reflected fiscal 2023 revenues of approximately $439.9 million, total

profits of approximately $66.3 million, and a cash balance of approximately $112.8 million as of

September 30, 2023, which did not comport with CaaStle’s internal records.

       87.      Hunsicker knew or was reckless or negligent in not knowing that the fiscal 2023

financial information reflected in the audit report was materially false and did not comport with

CaaStle’s internal records.

       88.      CaaStle’s true Fiscal Year 2023 financial performance was dismal in comparison.

CaaStle’s internal records – which Hunsicker had received from her finance team beforehand –

reflected fiscal 2023 revenues of approximately $15.6 million, operating losses of approximately

$39.6 million, net losses of approximately $47.2 million, and a September 30, 2023 cash balance

of approximately $880,000.

       89.      Hunsicker also knew when she sent the fake Fiscal Year 2022-2023 audit report to

investors that AUDITOR 2 had not completed its fiscal 2023 audit yet. She drafted the report. She




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cut and pasted AUDITOR 1’s signature into the report from a prior audit. She scanned the

document to herself.

       90.     The fake Fiscal Year 2022-2023 audit report contained multiple facial errors. It was

missing page 7, the stockholders’ equity report; the notes were out-of-date; and the audit opinion

letter purported to be signed by AUDITOR 1 on August 30, 2024.

       91.     Within days of receiving the fake Fiscal Year 2022-2023 audit report from

Hunsicker, the investor described in Paragraph 86 wired more than $25 million to CaaStle to

purchase preferred shares and common warrants.

       92.     Several weeks later, Hunsicker offered two different investors an opportunity to

view the supposed final Fiscal Year 2022-2023 audit report in her office. Both investors accepted

the offer. They were shown the same fake audit report that Hunsicker had loaded to the data room

on September 24.

       93.     AUDITOR 2 completed CaaStle’s Fiscal Year 2023 audit on December 2, 2024,

and issued it as a joint Fiscal Year 2022-2023 Audit Report. The audited financial statements

reported fiscal 2023 revenues of approximately $15.7 million, operating losses of approximately

$80.7 million, and a cash balance of less than $950,000 as of September 30, 2023. These numbers

were materially consistent with the internal reports that Hunsicker had received from her finance

team before sending falsified fiscal 2023 financials to investors, except for the audited loss figure

which was materially larger in comparison to the company’s internal records.

       94.     CaaStle was not profitable or cash-flow positive in Fiscal Year 2023. Nor was it

financing operations from its own cash flow. It had less than $1 million in cash and had suffered

its largest losses to date. The real Fiscal Year 2022-2023 audit report noted that that “[CaaStle]

has suffered recurring losses from operations and requires additional debt or equity financing in



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the future to continue to fund its operations, which cannot be guaranteed. These factors raise

substantial doubt about its ability to continue as a going concern.” This is the same message that

previously appeared in every one of CaaStle’s “real” audit reports.

II.    Hunsicker Procured Investments Using Misleading Sales Tactics

       95.     By mid-2022, Hunsicker also hid from investors the extent to which CaaStle

continued to rely on primary capital raises to fund its operations, and she provided capitalization

tables that misled investors about CaaStle’s true capital structure. Investors who wanted to

participate in secondary transactions ended up mostly participating in primary offerings, and

investor interests were diluted as a result.

       96.     Prior to 2022, CaaStle raised capital by selling original issue common shares and

successive rounds of preferred shares to investors. By late 2021, Hunsicker began to tell investors

that CaaStle had largely completed its capital-raising rounds and was moving into a final “pre-IPO

round.” By July 2022, she told investors that CaaStle was close to “generating cash” and may not

have another capital-raising round. The false financial statements she provided to investors in

March 2023 fit her inaccurate narrative and falsely represented that CaaStle had become profitable

and cash flow positive by December 31, 2022, and was capable of generating sufficient revenue

to independently fund its operations without the need for primary capital raises. CaaStle’s fake

Fiscal Year 2022-2023 audit report represented that CaaStle had not raised capital since the end of

fiscal 2022.

       97.     In reality, CaaStle’s financial performance had worsened, and CaaStle relied on

Hunsicker’s continued ability to raise capital in order to survive. Investors were unaware of this

fact. Several investors only invested because they believed they were buying discounted shares in

secondary transactions. If they had known that CaaStle was continuing to raise capital – when its




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balance sheet suggested that CaaStle has cash-rich – that information would have influenced their

investment decision.

       98.     Hunsicker structured the supposed “secondary transactions” in a manner that

allowed her to conceal the true nature of the transactions as a primary capital-raising events. She

told prospective buyers that she was facilitating resales from early investors in CaaStle who were

facing liquidity issues or other requirements to sell their shares. Then, acting as intermediary, she

purported to negotiate the transaction on behalf of both sides. The buyers had no contact with the

supposed sellers. The buyers executed transactional documents with CaaStle and wired funds to

CaaStle, and CaaStle was supposed to use the proceeds to purchase shares from the seller.

       99.     The selling investors that Hunsicker described, for the most part, did not exist. The

majority of the shares sold in purported secondary transactions were newly issued CaaStle shares.

CaaStle used the funds for operations.

       100.    For example, on August 16, 2023, Hunsicker solicited a prospective investor,

telling him she had “an employee who desperately needs some liquidity for an elder care situation.”

Hunsicker told the prospective investor that CaaStle would act as middleman by purchasing the

shares from the employee and then selling shares to the investor. The selling employee that

Hunsicker described did not exist. The buyer purchased one million shares, believing the shares

would come from reissuances of previously issued shares. CaaStle then issued a mix of new

preferred and common shares to the buyer. The investor’s new shares increased the number of

outstanding shares by one million, as reflected on CaaStle’s internal capitalization table. Hunsicker

made the same offer concerning the same fictitious seller to multiple other investors, several of

whom purchased shares in transactions that CaaStle recorded as original share issuances.




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       101.    Occasionally, Hunsicker herself was the seller in a secondary transaction, though

she concealed her identity from the buyer, and CaaStle paid her full price to redeem her shares,

not the negotiated discounted price paid by the buyer.

       102.    For example, on July 25, 2022, Hunsicker emailed an existing CaaStle investor with

an opportunity to purchase shares from another CaaStle investor who she claimed had become a

director of a large Chinese public company and was being pushed by the “[C]hinese gov[ernmen]t

… to sell his US tech stocks.” Hunsicker told the investor that “because [the seller] is getting

pressure, he’s willing to do a substantial discount on his shares” at a price of $2.05 per share, which

Hunsicker described as a 67% discount to the price at which CaaStle sold shares in its last

fundraising round. A day later, after the investor stated that he needed time to determine how much

he could invest, Hunsicker told the investor that the seller would be willing to sell 25% of his

available shares to the investor for $1.50 per share. Hunsicker then pressured the investor to act,

telling him that CaaStle would likely not do another funding round “since we are so close to

generating cash.” Hunsicker also sent the investor false income statements covering the period

January through June 2022 and a false balance sheet as of June 30, 2022.

       103.    The investor agreed to purchase the shares at $1.50 per share and wired

approximately $500,000 to CaaStle the next day. CaaStle recorded it as paid in capital. CaaStle

then purchased preferred shares from Hunsicker, not an executive of a Chinese public company,

and it paid her $6.20 per share, not $1.50.

       104.    Hunsicker made the same offer to sell shares from the same fictitious investor to

multiple other investors. One of them purchased shares in a transaction that the company recorded

as an original share issuance. The proceeds from that sale were not used to repurchase shares from

Hunsicker or any other real selling investor. CaaStle used the funds for operations.



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       105.      To hide that these transactions were capital raises and not true secondary sales,

Hunsicker created and distributed false capitalization tables that omitted the new share issuances

and made it appear that outstanding share levels remained flat. For example, in response to a

January 1, 2024 request from an existing investor for the capitalization table, Hunsicker provided

a table that undercounted the outstanding shares at the time by more than 50 million shares (out of

approximately 260 million). The table showed the amount of shares that the investor expected.

       106.      Hunsicker further deceived the investor with her explanation that “[t]he changes

from the last cap table are: Your investments, retiring common shares, option grants during our

annual cycle and options that have exercised to common.” The changes Hunsicker mentioned

amounted to negligible sums. Hunsicker omitted mention of any new share issuances from capital

raising in her statement.

       107.      CaaStle’s records show that, between December 2021 and July 2023, Hunsicker

was the only shareholder on the sell side of a secondary transaction, redeeming a total of

approximately 675,000 shares, for which CaaStle paid her $6.20 per share, or more than $4 million.

       108.      CaaStle’s records also show that, in the aggregate, between January 2022 and

December 2024, CaaStle raised capital through the sale of 100 million newly issued CaaStle

shares. These issuances caused CaaStle to exceed the number of authorized share totals in 2023.

The Board of Directors later purportedly retroactively increased the number of authorized

outstanding shares of common stock from 255 million to 350 million (a 37% increase) and the

number of outstanding shares of preferred stock from 136,100,000 to 152,850,000 (a 12%

increase).




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III.   CaaStle’s Board of Directors Learned Of
       Hunsicker’s Deception and the Scheme Ultimately Unraveled

       109.      Hunsicker’s scheme was ultimately uncovered by an investor who had reviewed

CaaStle’s purported “final” Fiscal Year 2023 audit report in Hunsicker’s office on October 30,

2024. After noticing that the report was missing a page and appeared to contain other errors that

Hunsicker was unable to explain, the investor asked Hunsicker for a contact at AUDITOR 1, the

audit firm whose signature was on the report.

       110.      The investor contacted AUDITOR 1 and was told that AUDITOR 1 did not conduct

the at-issue audit and that CaaStle was not an active client.

       111.      The investor told Hunsicker of its call with AUDITOR 1 and asked for an

explanation. Hunsicker’s response came days later. She acknowledged, without specifying the

details, that there was “a problem,” and she gave the investor two options: (i) do nothing and give

Hunsicker time to “fix” the issue because there was “value” in the company or (ii) redeem their

shares. The investor chose neither option and instead reported Hunsicker to CaaStle’s Board of

Directors.

       112.      Hunsicker resigned from CaaStle’s Board of Directors on December 14, 2024, after

admitting to her co-founder and a Board member that she provided false financial information to

investors.

       113.      Hunsicker was allowed to remain as CaaStle’s CEO while the Board conducted a

further investigation, but during that time, restrictions were placed on her authority. She was

prohibited from, among other things, raising capital for CaaStle or communicating with investors

on CaaStle’s behalf. Any action she took required Board approval.




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       114.    While the Board undertook its investigation, investors were not notified of

Hunsicker’s departure from the Board or made aware of the concerns that an investor had raised

with the Board.

       115.    Between December 14, 2024 and March 24, 2025, Hunsicker circumvented the

Board’s restrictions and took advantage of the fact that investors remained unaware of her

wrongdoing, sold or purported to sell her own shares of CaaStle stock to existing investors in

secondary transactions.

       116.    On or about December 30, 2024, Hunsicker entered into an agreement with a large

existing investor in which she purported to sell some or all of her personal shares. The agreement

was not documented in writing and Hunsicker asked the investor to wire the funds to her personal

bank account, not CaaStle. Between January 9, 2025 and January 22, 2025, the investor wired

$9,625,000 to Hunsicker’s personal bank account. The investor was not aware that every financial

statement that Hunsicker had ever provided to them was materially false.

       117.    A few weeks later, in February 2025, Hunsicker approached another investor and

offered to sell the investor 9,300,000 shares of her preferred and common stock at a price of $2.15

per share. The investor was interested and, as part of its due diligence, asked Hunsicker for a copy

of the final fiscal 2023 audit report and cap table. On March 11, 2025, Hunsicker provided the

investor with the same fake fiscal 2023 audit that she had provided to investors in 2024, which led

to her resignation from the Board. The investor noticed a number of errors and inconsistencies in

the audit report and did not go through with the transaction.

       118.    On or about March 18, 2025, Hunsicker provided another investor with a document

that purported to be CaaStle’s income statement for the fiscal year ended September 30, 2024

(“Fiscal Year 2024”), which reflected revenue of more than $848 million and losses of



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approximately $192.2 million for the fiscal year. These numbers were materially false and had no

basis in reality. CaaStle’s internal records show fiscal 2024 revenues of approximately $11.3

million and losses of approximately $69 million.

       119.     Hunsicker formally resigned as CaaStle’s CEO on March 24, 2025.

       120.     On March 25, 2025, the Board of Directors started to inform investors. In a letter

to investors dated March 29, 2025, the Board notified investors that Hunsicker had stepped down

as CEO and as a Director, and acknowledged that the company’s “performance to date has not

matched what Hunsicker claimed.” The letter further stated that it learned that “[Hunsicker]

provided certain investors with misstated financial statements and falsified audit opinions, as well

as capitalization information that understated the number of shares outstanding.” The letter advised

investors not to rely on any financial or capitalization information received from Hunsicker in the

past and it attached CaaStle’s true fiscal 2022 and 2023 audit report.

                                 FIRST CLAIM FOR RELIEF
              Violations of Exchange Act Section 10(b) and Rule 10b-5 Thereunder

       121.     The Commission re-alleges and incorporates by reference here the allegations in

Paragraphs 1 through 120.

       122.     Hunsicker, directly or indirectly, singly or in concert, in connection with the

purchase or sale of securities and by the use of means or instrumentalities of interstate commerce,

or the mails, knowingly or recklessly (1) employed one or more devices, schemes, or artifices to

defraud, (2) made one or more untrue statements of a material fact or omitted to state one or more

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading, and/or (3) engaged in one or more acts, practices, or

courses of business which operated or would operate as a fraud or deceit upon other persons.




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       123.      By reason of the foregoing, Hunsicker, directly or indirectly, singly or in concert,

has violated and, unless enjoined, will again violate Exchange Act § 10(b) [15 U.S.C. § 78j(b)]

and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

                                 SECOND CLAIM FOR RELIEF
                              Violations of Securities Act Section 17(a)

       124.      The SEC re-alleges and incorporates by reference here the allegations in Paragraphs

1 through 120.

       125.      Hunsicker, directly or indirectly, singly or in concert, in the offer or sale of

securities and by the use of the means or instruments of transportation or communication in

interstate commerce or the mails, (1) knowingly or recklessly employed one or more devices,

schemes, or artifices to defraud, (2) knowingly, recklessly, or negligently obtained money or

property by means of one or more untrue statements of a material fact or omissions of a material

fact necessary in order to make the statements made, in light of the circumstances under which

they were made, not misleading, and/or (3) knowingly, recklessly, or negligently engaged in one

or more transactions, practices, or courses of business that operated or would operate as a fraud or

deceit upon the purchaser.

       126.      By reason of the foregoing, Hunsicker, directly or indirectly, singly or in concert,

has violated and, unless enjoined, will again violate Securities Act § 17(a) [15 U.S.C. § 77q(a)].

                                      PRAYER FOR RELIEF

       WHEREFORE, the SEC respectfully requests that the Court enter a Final Judgment:

                                                  I.
                                              Violations

       127.      Finding that Hunsicker violated the federal securities statutes and rules set forth in

the Claims for Relief;




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                                             II.
                                     Permanent Injunction

       Permanently enjoining Hunsicker from directly or indirectly violating Exchange Act

§ 10(b) [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5], and Securities Act

§ 17(a) [15 U.S.C. § 77q(a)], pursuant to Exchange Act § 21(d) [15 U.S.C. § 78u(d)] and Securities

Act § 20(b) [15 U.S.C. § 77t(b)];

                                            III.
                            Disgorgement and Prejudgment Interest

       Ordering Hunsicker to disgorge all ill-gotten gains received as a result of her unlawful

conduct, plus prejudgment interest, pursuant to Exchange Act §§ 21(d)(5) and 21(d)(7) [15 U.S.C.

§§ 78u(d)(5), 78u(d)(7)];

                                                IV.
                                          Civil Penalties

       Ordering Hunsicker to pay civil money penalties pursuant to Exchange Act § 21(d)(3) [15

U.S.C. § 78u(d)(3)] and Securities Act § 20(d)(2) [15 U.S.C. § 77t(d)(2)];

                                               V.
                                    Officer and Director Bar

       Pursuant to Exchange Act § 21(d)(2) [15 U.S.C. § 78u(d)(2)] and Securities Act § 20(e)

[15 U.S.C. § 77t(e)], permanently prohibiting Hunsicker from acting as an officer or director of

any issuer having a class of securities registered with the SEC pursuant to Exchange Act § 12 [15

U.S.C. § 78l] or that is required to file reports under Exchange Act § 15(d) [15 U.S.C. § 78o(d)];

                                              VI.
                                    Conduct-Based Injunction

       Pursuant to Exchange Act §§ 21(d)(1) and 21(d)(5) [15 U.S.C. §§ 78u(3)(1), 78u(d)(5)]

and Securities Act § 20(b) [15 U.S.C. § 77t(b)], permanently prohibiting Hunsicker from

participating, directly or indirectly—including but not limited to, through any entity controlled by


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her—in the issuance, offer, or sale of any security, provided, however, that such injunction shall

not prevent her from purchasing or selling securities listed on a national securities exchange for

her own personal account; and

                                                VII.
                                             Other Relief

        Granting such other and further relief as the Court deems just, equitable, appropriate or

necessary for the protection of investors.

                                    JURY TRIAL DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the SEC demands a jury trial

on all issues so triable.

 Dated: July 18, 2025                        Respectfully submitted:

                                             SECURITIES AND EXCHANGE COMMISSION

                                             /s/Suzanne J. Romajas
                                             Suzanne J. Romajas
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